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                                    Document 1



                                    Document 2



                                    Document 3
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                UNITED STATES COURT OF APPEALS FOR THE FOURTH CIRCUIT

                                  NOTICE OF JUDGMENT
                                  November 16, 2005

  TO:          Warren Eugene Gorman, Esq.
               Deborah A. Johnston, Esq.

               Judgment was entered this date in Case Number(s):     04-4955

               The Court's decision is enclosed.

                          PETITION FOR REHEARING (FRAP 40)
                          PETITION FOR REHEARING EN BANC (FRAP 35)

  Filing       A petition must be received in the clerk's office within 14
  Time         days after judgment to be timely. There are three exceptions
               to this rule:

               (1) In all civil cases in which the United States or an agency
               or officer thereof is a party, any petition for rehearing must
               be received in the clerk's office within 45 days after entry of
               judgment.

               (2) The Court may grant an extension of time or leave to file a
               petition for rehearing out of time if the party establishes that
               the delay resulted from the death or serious illness of counsel
               or a family member (or of a party or family member in pro se
               cases) or other circumstances wholly beyond the control of counsel
               or a party proceeding without counsel.

               (3) Prisoner petitions are deemed filed when delivered to
               prison authorities.

               If a petition for rehearing en banc is to be filed, it must be
               filed at the same time and in the same document as the petition
               for rehearing and must be clearly identified in the title.

               Each case number to which the petition applies must be listed
               on the petition, even in companion or consolidated cases.
               Failure to list the individual case numbers on the petition
               will result in the unidentified cases proceeding to mandate
               even if a timely petition for rehearing has been filed in a
               companion or consolidated case.

               A timely filed petition for rehearing or petition for rehearing
               en banc will stay the mandate and toll the running of time for
               filing a petition for writ of certiorari.

  Purpose      A petition should only be made to direct the Court's attention
               to one or more of the following situations:

               1. A material fact or law overlooked in the decision.
               2. A change in the law which occurred after the case was submitted
                  and which was overlooked by the panel.
               3. The opinion is in conflict with a decision of the United States
                  Supreme Court, this Court, or another court of appeals, and the
                  conflict is not addressed in the opinion.
               4. The proceeding involves one or more questions of exceptional
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                  importance.

  Statement    A petition shall contain an introduction stating that, in
  of Counsel   counsel's judgment, one or more of the situations exist as
               described in the above "Purpose" section. The points to be
               raised shall be succinctly listed in the statement.

  Form         The 15 page limit allowed by the Rule shall be observed. The
               Court requires 4 copies of the petition (20 copies of a
               petition for rehearing en banc), and a copy of the Court's
               opinion must be attached to each copy of the petition.

                                  BILL OF COSTS (FRAP 39)

  Filing       A party to whom costs are allowed, who desires taxation of costs,
  Time         shall file a bill of costs on or before 11/30/05.

                                     MANDATE (FRAP 41)

  Issuance     In original proceedings before this Court, there is no mandate.
  Time         Unless the Court shortens or extends the time, in all other
               cases, the mandate issues 7 calendar days after the expiration
               of the time for filing a petition for rehearing. A timely
               petition for rehearing, petition for rehearing en banc, or motion
               to stay the mandate will stay the issuance. If the petition or
               motion is denied, the mandate will issue 7 calendar days later.
               If a stay of mandate is sought, only the original of a motion
               need be filed.

  Stay         A motion for stay of the issuance of the mandate shall not be
               granted simply upon request. Ordinarily the motion will be denied
               unless it would not be frivolous or filed merely for delay and
               would present a substantial question or otherwise set forth good
               or probable cause for a stay.

                         CRIMINAL CASES (Plan in Implementation of the CJA)

  Criminal     In criminal cases, counsel must inform the defendant in writing
               of the right to file a petition for writ of certiorari from an
               adverse decision of this Court. Counsel appointed under the
               Criminal Justice Act must file their vouchers within 60 days
               of entry of judgment, denial of a petition for rehearing, or the
               grant or denial of a petition for writ of certiorari, whichever
               is later.

                   PETITION FOR WRIT OF CERTIORARI        (Sup.Ct.R. 13)

  Filing       Review on writ of certiorari is not a matter of right, but of
  Time         judicial discretion, and will be granted only for compelling
               reasons. The petition must be filed in the United States
               Supreme Court within 90 days of this Court's entry of judgment.
               The time does not run from the issuance of the mandate. If a
               petition for rehearing is timely filed, the time runs from the
               denial of that petition. Content, fees, and number of copies of
               a petition for writ of certiorari are governed by the Rules of
               the United States Supreme Court.
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                                           JUDGMENT
                                                              FILED: November 16, 2005

                            UNITED STATES COURT OF APPEALS

                                           for the

                                    Fourth Circuit



                                           No. 04-4955
                                               CR-03-0538


  UNITED STATES OF AMERICA

                    Plaintiff - Appellee


     v.

  CARLTON BROWN

                    Defendant - Appellant




                                  --------------------
                  Appeal from the United States District Court for the
                           District of Maryland at Greenbelt
                                  --------------------

                  In accordance with the written opinion of this Court filed

          this day, the Court affirms in part and dismisses in part the

          judgment of the District Court.

                  A certified copy of this judgment will be provided to the

          District Court upon issuance of the mandate.           The judgment will

          take effect upon issuance of the mandate.




                                               /s/ Patricia S. Connor
                                               _________________________
                                                         CLERK
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                                       UNPUBLISHED

                             UNITED STATES COURT OF APPEALS
                                 FOR THE FOURTH CIRCUIT


                                       No. 04-4955



        UNITED STATES OF AMERICA,

                                                               Plaintiff - Appellee,

                   versus


        CARLTON BROWN,

                                                              Defendant - Appellant.



        Appeal from the United States District Court for the District of
        Maryland, at Greenbelt.    Deborah K. Chasanow, District Judge.
        (CR-03-0538)


        Submitted:      October 21, 2005                 Decided:       November 16, 2005


        Before MICHAEL, GREGORY, and DUNCAN, Circuit Judges.


        Affirmed in part; dismissed in part by unpublished per curiam
        opinion.


        Warren E. Gorman, Chevy Chase, Maryland, for Appellant. Allen F.
        Loucks, United States Attorney, Deborah A. Johnston, Assistant
        United States Attorney, Greenbelt, Maryland, for Appellee.


        Unpublished opinions are not binding precedent in this circuit.
        See Local Rule 36(c).
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        PER CURIAM:

                       Carlton Brown appeals from his conviction and 262-month

        sentence entered pursuant to his guilty plea to conspiracy to

        distribute crack cocaine.            On appeal, he challenges the district

        court’s denial of his motion to withdraw his guilty plea.                    He also

        attempts to raise claims under Blakely v. Washington, 542 U.S. 296

        (2005). We affirm Brown’s conviction and dismiss his appeal of his

        sentence, as he waived the right to challenge his sentence in his

        plea agreement.

                       The district court’s denial of a motion to withdraw a

        guilty plea is reviewed for abuse of discretion.                    United States v.

        Ubakanma, 215 F.3d 421, 424 (4th Cir. 2000).                  A defendant does not

        have an absolute right to withdraw a guilty plea, even before

        sentencing.         United States v. Moore, 931 F.2d 245, 248 (4th Cir.

        1991).    Rather, the defendant bears the burden of demonstrating

        that a “fair and just reason” supports his request to withdraw his

        plea.    Id.    The central question is whether the Fed. R. Crim. P. 11

        hearing was properly conducted.            United States v. Puckett, 61 F.3d

        1092, 1099 (4th Cir. 1995).             This court closely scrutinizes the

        Rule 11 colloquy and attaches a strong presumption that the plea is

        final and binding if the Rule 11 proceeding is adequate.                      United

        States v. Lambey, 974 F.2d 1389, 1394 (4th Cir. 1992).

                       We   hold   that   the   district      court   did    not   abuse   its

        discretion in denying Brown’s motion to withdraw his guilty plea.


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        The record clearly reveals that Brown voluntarily chose to plead

        guilty and that he understood the consequences of doing so.                 While

        Brown relies on the fact that Blakely had not issued at the time of

        his plea, a post-plea change in the law regarding applicable

        sentences does not provide a valid basis for withdrawing from an

        otherwise valid plea.        See United States v. Johnson, 410 F.3d 137,

        152-53 (4th Cir.), cert. denied, 2005 WL 2494147 (U.S. Oct. 11,

        2005) (No. 05-6215).        Thus, we hold that the district court did not

        abuse its discretion in denying Brown’s motion to withdraw his

        guilty plea.

                   Turning to Brown’s challenges to his sentence, Brown

        waived the right to appeal his sentence in his plea agreement,

        reserving only the right to appeal from an upward or downward

        departure.      A defendant may, in a valid plea agreement, waive the

        right to appeal.      United States v. Wiggins, 905 F.2d 51, 53 (4th

        Cir. 1990).      Whether a defendant has effectively waived the right

        to appeal is an issue of law we review de novo.                 United States v.

        Marin, 961 F.2d 493, 496 (4th Cir. 1992).                An appeal waiver is

        valid if the defendant knowingly and intelligently agreed to waive

        his right to appeal.        United States v. Blick, 408 F.3d 162, 168-69

        (4th Cir. 2005).

                   Our review of the record reveals that the district court

        conducted an adequate Rule 11 plea colloquy.             The court questioned

        Brown   regarding     the    appeal   waiver,      and   he     stated   that   he


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        understood.     Brown presents no basis to suggest that the appeal

        waiver was not knowingly and intelligently made.               Moreover, the

        subsequent issuance of Blakely and its progeny does not invalidate

        an otherwise valid waiver.    Id. at 173 (upholding waiver, because

        Blick was sentenced under the guidelines, in accordance with his

        agreement and his expectations).     Accordingly, Brown’s attempts to

        challenge his sentence on appeal are foreclosed by the waiver

        provisions in his plea agreement.

                   Based on the foregoing, we affirm Brown’s conviction. We

        dismiss his appeal from his sentence based on his waiver.                 We

        dispense with oral argument because the facts and legal contentions

        are adequately presented in the materials before the court and

        argument would not aid the decisional process.



                                                                    AFFIRMED IN PART;
                                                                    DISMISSED IN PART




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